                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:13-cr-133-HSM-SKL
                                                       )
 v.                                                    )
                                                       )
 TERRY WILLIAMS                                        )


                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on February 26, 2014.

 At the hearing, defendant moved to withdraw his not guilty plea to Count One of the nine-count

 indictment and entered a plea of guilty to the lesser included offense of the charge in Count One,

 that is of conspiracy to distribute a mixture and substance containing a detectable amount of cocaine

 base, a Schedule II controlled substance, in violation of 21 USC §§ 846, 841(a)(1), & 841(b)(1)(C),

 in exchange for the undertakings made by the government in the written plea agreement. On the

 basis of the record made at the hearing, I find the defendant is fully capable and competent to enter

 an informed plea; the plea is made knowingly and with full understanding of each of the rights

 waived by defendant; the plea is made voluntarily and free from any force, threats, or promises,

 apart from the promises in the plea agreement; the defendant understands the nature of the charge

 and penalties provided by law; and the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

 One be granted, his plea of guilty to the lesser included offense of the charge in Count One, that is

 of conspiracy to distribute a mixture and substance containing a detectable amount of cocaine base,

 a Schedule II controlled substance, in violation of 21 USC §§ 846, 841(a)(1), & 841(b)(1)(C) be

 accepted, the Court adjudicate defendant guilty of the lesser included offense of the charge in Count



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 One, that is of conspiracy to distribute a mixture and substance containing a detectable amount of

 cocaine base, a Schedule II controlled substance, in violation of 21 USC §§ 846, 841(a)(1), &

 841(b)(1)(C), and a decision on whether to accept the plea agreement be deferred until sentencing.

 I further RECOMMEND defendant remain in custody until sentencing in this matter. Acceptance

 of the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

 specifically reserved for the district judge.

                                                 s/fâátÇ ^A _xx
                                                 SUSAN K. LEE
                                                 UNITED STATES MAGISTRATE JUDGE



                                        NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than ten days after the plea hearing. Failure to file
 objections within ten days constitutes a waiver of any further right to challenge the plea of guilty
 in this matter. See 28 U.S.C. §636(b).




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